                     Case 5:13-cv-02354-BLF Document 633 Filed 03/22/18 Page 1 of 4



               1 MICHAEL W. BIEN – 096891                        ALAN SCHLOSSER – 049957
                 ERNEST GALVAN – 196065                          MICAELA DAVIS – 282195
               2 VAN SWEARINGEN – 259809                         AMERICAN CIVIL LIBERTIES UNION
                 ANDREW G. SPORE – 308756                        FOUNDATION OF NORTHERN
               3 ROSEN BIEN                                      CALIFORNIA, INC.
                 GALVAN & GRUNFELD LLP                           39 Drumm Street
               4 50 Fremont Street, 19th Floor                   San Francisco, California 94111-4805
                 San Francisco, California 94105-2235            Telephone: (415) 621-2493
               5 Telephone: (415) 433-6830                       Facsimile: (415) 255-8437
                 Facsimile: (415) 433-7104                       Email:       aschlosser@aclunc.org
               6 Email:        mbien@rbgg.com                                 mdavis@aclunc.org
                               egalvan@rbgg.com
               7               vswearingen@rbgg.com
                               aspore@rbgg.com
               8
                 ERIC BALABAN (admitted pro hac vice)
               9 NATIONAL PRISON PROJECT of the
                 AMERICAN CIVIL LIBERTIES UNION
              10 915 15th Street N.W., 7th Floor
                 Washington, D.C. 20005-2302
              11 Telephone: (202) 393-4930
                 Facsimile: (202) 393-4931
              12 Email:        ebalaban@aclu.org
                               ctakei@aclu.org
              13
                 Attorneys for Plaintiffs
              14
              15
                                              UNITED STATES DISTRICT COURT
              16
                                          NORTHERN DISTRICT OF CALIFORNIA
              17
                 JESSE HERNANDEZ et al., on behalf of            Case No. CV 13 2354 BLF (NC)
              18 themselves and all others similarly situated,
                                                                 SECOND STIPULATION AND
              19                Plaintiffs,                      ORDER REGARDING
                                                                 TELEPSYCHIATRY ISSUES
              20         v.
                                                                 Judge: Hon. Nathanael Cousins
              21 COUNTY OF MONTEREY; MONTEREY
                 COUNTY SHERIFF’S OFFICE;
              22 CALIFORNIA FORENSIC MEDICAL
                 GROUP, INCORPORATED, a California
              23 corporation; and DOES 1 to 20, inclusive,
              24                Defendants.
              25
              26
              27
              28
                                                                                   CV 13 2354 BLF (NC)
[3236003.1]                   SECOND STIPULATION AND ORDER REGARDING TELEPSYCHIATRY ISSUES
                     Case 5:13-cv-02354-BLF Document 633 Filed 03/22/18 Page 2 of 4



               1 THE PARTIES THROUGH THEIR COUNSEL HEREBY STIPULATE AS FOLLOWS:
               2         WHEREAS, on May 27, 2016, the Court entered an Order Granting-In-Part
               3 Defendants' Motions for Approval of Implementation Plans and Denying as Moot CFMG's
               4 First Motion for Approval of Implementation Plan, Docket No. 549, ruling under the
               5 heading “Telepsychiatry” that “Defendants’ implementation plans must have standards for
               6 when they can deviate from a typical in-person encounter and use telemedicine or
               7 telepsychiatry.” Dkt. 549 at 3.
               8         WHEREAS, on June 17, 2017, the Plaintiffs filed a Motion to Enforce Settlement
               9 Agreement Regarding Psychiatric Staffing and Telepsychiatry. Dkt. 599.
              10         WHEREAS, on November 1, 2017 after full briefing and a hearing, the Court
              11 entered an Order Granting in Part and Denying in Part Plaintiffs’ Motion to Enforce
              12 Settlement Agreement, finding that CFMG had come into compliance with the staffing
              13 requirement after Plaintiffs’ filed their motion by hiring a full-time on-site psychiatrist, and
              14 directing the parties to finalize their tentative agreement as to certain issues regarding the
              15 use of telepsychiatry, and referred the remaining issues to Magistrate Judge Cousins for
              16 disposition. Dkt. 619.
              17         WHEREAS, on December 8, 2017, the Court approved a Stipulation and Order
              18 Regarding Telepsychiatry, setting forth specific requirements regarding patient informed
              19 consent, access to medical and mental health records, documentation of patient sessions,
              20 technological standards, quality assurance monitoring, and confidentiality of telepsychiatry
              21 sessions. Dkt. 622.
              22         WHEREAS, while preparing for the evidentiary hearing on the remaining issues,
              23 the parties continued meeting and conferring over additional standards and policies for the
              24 use of telepsychiatry at the Monterey County Jail that could resolve the remaining issues.
              25         WHEREAS, on March 21, 2018, counsel reached agreement on a single policy
              26 document to incorporate the December 8, 2017 Stipulation and Order Regarding
              27 Telepsychiatry, as well as additional requirements to resolve the remaining issues.
              28

                                                           1                      CV 13 2354 BLF (NC)
[3236003.1]                  SECOND STIPULATION AND ORDER REGARDING TELEPSYCHIATRY ISSUES
                     Case 5:13-cv-02354-BLF Document 633 Filed 03/22/18 Page 3 of 4



              1         THEREFORE, THE PARTIES HEREBY JOINTLY REQUEST THAT THE
              2 COURT:
              3         (1) Vacate the Evidentiary Hearing now set for May 1, 2018, and associated dates;
              4         (2) Approve the attached Telepsychiatry Policy as an amendment to the
              5 Implementation Plans approved by the Court on May 27, 2016.
              6
              7
                   DATED: March 21, 2018               Respectfully submitted,
              8
              9                                        ROSEN BIEN GALVAN & GRUNFELD LLP

              10                                       By:         /s/ Van Swearingen
              11                                              Van Swearingen

              12                                       Attorneys for Plaintiffs
              13
              14
                   DATED: March 21, 2018               OFFICE OF THE COUNTY COUNSEL
              15                                       COUNTY OF MONTEREY
              16
                                                       By:           /s/ Susan K. Blitch
              17                                              Susan K. Blitch
                                                              Senior Deputy County Counsel
              18
                                                       Attorneys for Defendants
              19                                       COUNTY OF MONTEREY and
              20                                       MONTEREY COUNTY SHERIFF’S OFFICE

              21
              22 DATED: March 21, 2018                  BERTLING LAW GROUP
              23
                                                        By:          /s/ Peter G. Bertling
              24                                              Peter G. Bertling
              25                                        Attorneys for Defendant
              26                                        CALIFORNIA FORENSIC MEDICAL GROUP,
                                                        INC.
              27
              28

                                                         2                           CV 13 2354 BLF
[3236003.1]                SECOND STIPULATION AND ORDER REGARDING TELEPSYCHIATRY ISSUES
                    Case 5:13-cv-02354-BLF Document 633 Filed 03/22/18 Page 4 of 4



              1                                           ORDER
              2        Pursuant to the parties’ stipulation, Defendants’ use of telepsychiatry services with
              3 patients at the Monterey County Jail must comply with the attached requirements. These
              4 requirements are amendments to the Implementation Plans approved by the Court on May
              5 27, 2016. The Evidentiary Hearing now set for May 1, 2018 as well as the associated dates
              6 set forth in ECF 629 are vacated.
              7        IT IS SO ORDERED.                                    ISTRIC
                                                                       TES D      TC
              8 DATED: March 22, 2018                                TA




                                                                                               O
                                                                S
                                                           Nathanael M. Cousins




                                                                                                U
                                                               ED
              9




                                                                                                 RT
                                                           United States Magistrate Judge



                                                           UNIT
                                                                                    TED
              10                                                             GRAN




                                                                                                        R NIA
              11
                                                                                                    s
                                                                                        M. Cousin
                                                           NO
              12                                                              thanael
                                                                     Judge Na




                                                                                                        FO
                                                             RT

              13




                                                                                                    LI
                                                                    ER
                                                               H




                                                                                               A
                                                                         N                       C
                                                                                            OF
              14
                                                                             D IS T IC T
              15
                                                                                   R

              16
              17
              18
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28

                                                         3                      CV 13 2354 BLF (NC)
[3236003.1]                SECOND STIPULATION AND ORDER REGARDING TELEPSYCHIATRY ISSUES
